Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 1 of 21




                    EXHIBIT A
                          Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 2 of 21
.i
             €m                                    SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                                         CIVIL DIVISION - Civil Actions Branch
                                                            500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                                                Telephone: (202) 879-1133 Website: www.decourts.gov
             Lemar Thomas Jr.
                                                       Plaintiff(s)

                         V.                                                                                          Case No: 2023 CAB 0Q2501
             America's Healthcare at Home Inc.
                                                    Defendants)

                                                       NOTICE AND ACKNOWLEDGMENT OF SERVICE

            To (insert name and address of the party to be served):
            America's Healthcare at Home Inc.
            220W Germantown Pike, Ste. 250
            Plymouth Meeting, PA 19462-1437


                   The enclosed summons, complaint, initial order, and any addendum are served in accordance with Superior
            Court Rule of Civil Procedure 4(cX5).
                   Please sign and date the Acknowledgement at the bottom of the page. If you are served on behalf of a
            corporation, unincorporated association (including a partnership), or other entity, please indicate your relationship to
            that entity in the space beside your signature. If you are served on behalf of another person and you are authorized to
            receive process, please indicate your authority in the space beside your signature.
                   If you do not complete and return the form to the sender within 21 days after it was mailed and you do not show
            good cause for this failure, you (or the party on whose behalf you are being served) will be required to pay 1) the costs
            incurred in serving the summons, complaint, initial order, and any addendum in any other manner permitted by law and
            2) the reasonable expenses, including attorney’s fees, for any motion required to collect those service expenses.
                   If you do complete and return this form, you (or the party on whose behalf you are being served) must answer
            the complaint within 21 days after you have signed, dated, and returned the form (or within 60 days if the party being
            served is the United States, the District of Columbia, or officers or employees of either). If you fail to do so, judgment
            by default may be entered against you for the relief demanded in the complaint.
                   This Notice and Acknowledgment of Receipt of Summons, Complaint, Initial Order, and Any Addendum was
            mailed on (insert date): 8/8/2023
                CXàXUUvm '—) • Wuu&l-i                                                                                       202.3
             Signature                                                                                           Date ofSign ature

                                                    ACKNOWLEDGMENT OF RECEIPT OF SUMMONS,
                                                   COMPLAINT, INITIAL ORDER, AND ANY ADDENDUM

                   I (print name)                                     received a copy of the summons, complaint, initial
             order, and any addendum in the above captioned matter at (insert address):




       Signature                                                 Relationship to Defendant/Authority                   Date ofSignature
                                                                  to Receive Service

       Para pedir una traducción, llame al (202) 879-4828               in*®»,WIT*® (202) 879-4828                      Veuillez appeler au (202) 879-4828 pour une traduction
       04 có mót bái djch, My gpi (202) 879-4828                      PMC? 7-OP” Л«ЭТ77- (202) 879-4828 ££т-Л-          SMS «адй. (202) 879-4828 S SWÎtJA|a




     CA 1-A [Rev, June 2017]                                                                                                                Super. Ct Civ. R. 4
                  Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 3 of 21


       Case Caption:      Lemar Thomas, JR v. America's Healthcare at Home

       To:   America's Healthcare at Home                            Case Number:        2023-CAB-002501
f
                                    NOTICE OF REMOTE SCHEDULING CONFERENCE
    Your case is scheduled for a(n) Remote Scheduling Conference on 10/20/2023 at 9:45 AM in Remote Courtroom
    100.

    The remote hearing will be held via Webex. To join the hearing, follow the below instructions.

    To Join bv Cbmbuter. Tablet, or Smartphone:
    1) Copy and Paste or Type the link Into a web browser and enter the Webex Meeting ID listed below.
        Link: dccourts.webex.com/meet/ctbl 00
        Meeting ID: 129 846 4145
    2) Click “Join Meeting". You may be placed In the lobby until the courtroom clerk gives you access to the hearing.

    OR To Join bv Phone:
    1) Call 202-860-2110 (local) or 844-992-4726 (toll-free)
       Enter the Webex Meeting ID shown above followed by “##”

    Resources and Contact Information:
    1) For best practices on howto participate in Webex Meetings, click here www.webex.com/learn/besl-praetices.html.
    2) For technical issues or questions, call the Information Technology Division at 202-879-1928 and select option 2.
    3) For case questions, call the Civil Actions Branch at 202-879-1133.
    4) To change your method of hearing participation, visit www.dccourts.aov/hearina-information for instructions and forms.




                    Superior Court of the District of Columbia                                         First Class Mail

       fié          Civil Division - Civil Actions Branch
                    500 Indiana Ave NW, Room 5000, Washington DC 20001
                    202-879-1133 | www.dccourts.gov
                                                                                                     U. S. Postage Paid
                                                                                                     Washington, D.C.
                                                                                                      Permit No. 1726



                                            America's Healthcare at Home
                                              220 W Germantown Pike
                                                      Suite 250
                                          Plymouth Meeting PA 19462-1437
1                Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 4 of 21


    You are named in a lawsuit filed in the Superior Court of the District of Columb
                                                                                      ia. If you çannot appear at the hearing,
    please contact the Clerk’s Office immediately for more information, if Plaintiff does
                                                                                            not participate, the case may be
    dismissed. If Defendant does not participate, default or judgment may be entered.


    For case information, please contact the Civil Actions Branch Clerk’s Office by
                                                                                    phone at 202-879-1133 or by live chat at
    https；//www；dcc6urts.gov/servfeesfeivil-matters/reauest?na-over-10k.

    To access your case information online, please visit www.dccourts.aov/services/cas
                                                                                      es-online.
                 Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 5 of 21

• *                                                                                                                        FILED
                                                                                                                         CIVIL PIVISION
                                       Superior Court of the District of Colombia
                                         CIVIL DIVISION - Civil Actions Branch               APR 28 2023
                               500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20011
           4ÉF                     Telephone: (202) 879-1133 Website: wvw.dccourts.gov     Superior Court of the

                                                                             Case No.          aog-Fofffl
                                                             COMPLAINT
                                      Jurisdiction of this Court is founded on D.C. Code § 11-921；

                                                                           AMERICA'S ^
  PLAINTIFF                                                          vs
                                                                           мачтсйЗЕ M
                                                                          DEFENDANT
  asBbsaiagsta KviE sAh
  Address (No Post Office Boxes)                                          fôib ^aiDfû ешт^ örhjf
                                                                          Address (No Post Office    Boxes)
  ajfewnfeiom Ü.C； ûQQSïD                                                 мшиш  ЕДа.Zipsaa   sn
  City               State             Zip Code                           Gî^
                                                                            ’ Steter    Code

  Telephone Number
                                                                          Telephone Number
 1егшг 3RBS                           .cam
 Email Address (optional)
                                                                          Email Address (optional)

      1. Write a short and plain statement of your claim, including any relevan
                                                                                t      facts, dates, and locations:
        XÜEiflàK            Ж1 Al tte L         n& &ШШ1СА'Ъ,
        fefUTlffef ÂTUrMP ,rntftPAi\»f gmiw. -*УАКЧ агмрч
        тгл                     TAiPîfR, А мгмчш Аа4г^~Кг\гч
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        RFfm VfithyíMArsCÁáv КРГАб; лгл ^natJililis iilf№
             "л •‘ ‘^^aiu^rfñK^FAtiM PiRHRt émis.
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                                                                                   ^            .■        ‘   _гтт,п..

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                                                ••* ^'«1,
                                                            ;*

      2. What relief are you requesting from, the Court? Include any reques
                                                                            t for      money damages.
                                                   №mFSlmri                                                              A№
                                               hAmnU                                                                     tPAHO \



Form CA-3074 [Rev. Nov. 2017]                                    1                                   Super. Ct. Civ. R. 3
{                     Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 6 of 21


                                                                                                                         4-
                                                                                                                              1   .



(            3. State any other information, of which the Court should
                                                                       be   aware:
                 Jl AÆMfel&AM/LS Æ, Mitote                                                  Afi lD
                                     ŒWMtFfc %i \PPnKir MY
                nuin ft All Kl U1 CASS1. '    _____________




                                                              SIGNATURE
             To the best of my knowledge, everything in this Com
                                                                  plaint is true and I am not filing this Complaint to
             harass the Defendant(s). Superior Court Civil Rules 11(b)
    ，-?
                                                                       . ,



             SIGNATURE

                fW
             »ATE



                                                                                     :vc> -Xÿxfvm
          Subscribed and sworn to before me this
                                                                       „H^ia
                                                                                      •：*>；___ liK'.i'
                                                                                                         Clerk)




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                  Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 7 of 21

* t
                                               Superior Court of the District of Columbia
                                                              CIVIL DIVISION
                                                            Civil Actions Branch
                                        500 Indiana Avenue, N.W., Suite 5000 Washington
                                                                                           , D.C. 20001
                                             Telephone: (202) 879-1133 Website: wvnv.dccou
                                                                                          rts.gov
             tm&i& iHûtsAS »IK
                                                               '     PlBintiff
                                            VS.
                                                                                                                       2023 02501
            America's mma& As hdm,£                                                                Case Number

                                                                    Defendant

                                                                   SUMMONS
         To tlie above named Defendant:

                You are hereby summoned and required to serve
        personally or through an attorney, within twenty one            an Answer to the attached Complaint, either
                                                                  (21) days after service of this summons upon you,
        exclusive of the day of service. If ÿoü are being sued as
                                                                  an officer or agency of the Uhited S tates Govenunent
        or the District of Columbia Government, you have sixty
                                                                  (60) daÿs after service of tins summons to serve your
        Answer. A copy of the Answer must be mailed to
                                                                the àttprneÿ for the plainfifT who is suing you. The
        attorney’s name and address appear below. ïf plairitiff
                                                                 has no attorney, a copy of the Answer must be maile
        to the plaintiff at the address stated oh this Summons.                                                      d

                YOh are also required to file the original Answer with
                                                                        the Court in Suite 5000 at 500 Indiana Avenue,
        N.W., between S*J0 a.m, and 5:00 p m., Mondays throu
                                                                 gh Fridays or between 9:00 a,m, and 12:00 noon on
        Saturdays. You may file the original Answer with the
                                                               Court either before you serve a copy of the Answer
        the plaintiff or within seven (7) days after you have                                                      on
                                                                 served the plaintiff. If you fail to file an Answer,
       judgment by default may be entered against you for the
                                                                relief demanded in the complaint.
       toMAK fí4fiMAS： JK
       Name of I’lnintifPs Aitoriiey
                                          S-£%i
      Address ,                                                                By
                       ___
                                Vs.r. tàc& Exy                                                            i-j; ■-




      Telephone                                                               Date
                       (202) 879-4828     Veuillez appeler au (202) 879-4828 pour une traduction     D^cOtiîftl b;1iï|ch： liíy gpi (202) 879-4828
                      (202) 879-48285 îiS№ïï-4ÎE rWc?-to-i” n-m-l
                                                                          - (202) B79-4828

        ¡MPORTANT: IF YOU FAIL TO FILE AN ANSW
                                                  ER WITHIN'THE TIME STATED ABOVE, OR
      ANSWER, YOU FAIL TO APPEAR AT ANY TIME                                              IF, AFTER YOU
                                               THE COURT NOTIFIES YOU TO DO SO, A JUDG
      MAY BE ENTERED AGAINST YOU FOR THE                                              MENT BY DEFAULT
                                                 MONEY DAMAGES OR OTHER RELIEF DEMA
      COMPLAINT. IF THIS OCCURS, YOUR WAGES                                                NDED IN THE
                                               MAY BE ATTACHED OR WITHHELD OR PERS
      REAL ESTATE YOU OWN MAY BE TAKEN AND                                           ONAL PROPERTY OR
                                                SOLD TÓ PAY THE JUDGMENT. IF YOU INTEN
      ACTION. DO Not fail to answer wíthin the                                         D TO OPPOSE THIS
                                               required time.

         If you wish to talk to a lawyer and feel that you canno
                                                                 t afford to pay a fee to a lawyer, promptly contact one
      Legal Aid Society (202-628-1161) or the Neighborhoo                                                                of the offices of the
                                                               d
      Indiana Avénue¿ Ñ.W., for more information concerning Legal Services (202-279-5100) for help or come to Suite 5000 at 500
                                                               places where you may ask for such help.

                                                    See reverse side for Spanish translation
                                                     Vea al dorso la traducción al español




  CV-3110 [Rev. June 2017]
                                                                                                                            Super. Ct. Civ. R. 4
                       Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 8 of 21
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                                                                                                                                                    I




                                              TRIBUNAL SUPERIOR DEL DISTRITO DE COLU
                                                                                                          MBIA
i                                                                    DIVISION CIVIL
                                                              Sección de Acciones Civiles
                                                500 Indiana Avenue, N.W., Suite §000, Washington, O.C. 20001
I                                                     Teléfono; (202) 879-1133 Sitio web: www.dccourts.gov




                                                                      Demandante
                                              contra
                                                                                                   Número de Caso:

                                                                      Demandado

                                                                      CITATORIO
              AI susodicho Demandado:
                       Por la pftódnte sclc cita a comparecer y se !,e require entregar
              persona o por medio de un abogado, en el plazo do veintiún                 una Contestación a la Demanda adjunta, sea en
                                                                              (21) días contados después que usted haya recibido este
              citatorio, excluyendo el día mismo de la entrega del citatorio.
                                                                                Si usted está siendo demandado en calidad de oficial o
              agente del Gobierno de los Estados Unidos de Norteamérica
                                                                                o del Gobierno del Distrito de Columbia, tiene usted
              sesenta (60) días, contados después que usted haya recibido
                                                                               raté citatorib, páfá éritrégár su Contestación. Tiene que
              enviarle por conreo una copia de su Contestación al abogad
                                                                               o de Ist parte deíhándante. El nombre y dirección de!
              abogado aparecen al final de este documento. Si el demandado
                                                                                no tiene abogado, lierie que enviarle al demandante una
              copia de la Contestación por correo a la dirección que aparece
                                                                              en este Citatorio.
                      A usted también sé le require presentar la Contestación origina
                                                                                      l al Tribunal en la Oficina 5000, sito en 500
             indiana Ávchúé^NiW., entre las 8;30 aun. y 5:00 p,m,, de lunes
                                                                             a viernes o entre las 9:00 a.m. y las 12:00 del mediodía
             los sábados. Usted puede* presentar la Contestación origin
                                                                          al ante el Juez ya sea antes que usted le entregue al
             demandante una cpp& de lá Contestación o en el plazo de siete
             usted ÍncumpÍe%cún'prescfilar~uná‘Góntéstación, podría dictars(7) días de haberle hecho la entrega al démándante. Si
                                                                             e un fallo en rebeldía contra usted para que se haga
             efectivo el desagrnyio qüe sé íüsca én laltiéntenda.
                           ^ VS* * " ’ vi, .  ,¿l¿
             ___________ . s_____      _________. .
            Nombre dél almgáBoydéipéniSndanté ' '.                                SECRETARIO DEL TRIBUNAL

                                                                                Por:
            Dirección
                                                                                                            Subsecretario


            Teléfono                                                            Fecha
            iUSsSS.tiWÍLig (202) 6794828  Veuillez appeler au (202) 879-4828 pourune traductio
                                                                                               n      Dé có mél bái djcti. hay gpi (202) 879-4828
                      SSÍ§gíSW£(202) 879-4828                           fXWC? 4-C7-S»              (202)879-4828     g.£a>-A-
              IMPORTANTE: SI USTED INCUMPLE CON PRESE
           MENCIONADO Ó, SI LUEGO DE CONTESTAR, USTED NO NTAR
                                                         COMP
                                                               UNA CONTESTACIÓN EN EL PLAZO ANTES
           DICTARSE UN FALLO EN REBELDÍA CÓNTRA USTED PARA    ARECE  CU ANDO LE AVISE EL JUZGADO, PODRÍA
                                                           QUE SE LE COBRE LOS DAÑOS V PERJUICIOS U OTRO
           DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA SÍ ESTO
           PODRÍA TOMÁRSELE SUS BIENES PERSONALES O BIENES OCURRE, PODRÍA RETENÉRSELE SUS INGRESOS, O
           USTED PRETENDE OPONERSE A ESTA ACCIÓN, NO DEJE  RAÍCES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
           EXIGIDO.                                         DE ÓONTES7M LA DEMANDA DENTRO DEL PLAZO

              Si desea conversar con un abogado y le parece que no puede pagarle
           Soctety (202-628-L161) o el Neighbcrhood Legal Services (202-27 a uno, llame pronto a una de nuestras oficinas del Legal Aid
                                                                              9-5100
           Indiana Ávcnuc, N.W., para infórmarse sobre otros lugares donde puede ) para pedir ayuda o venga a ia Oficina 5000 del 500
                                                                                 pedirayuda al respecto.
                                                          Vea al dorso ei original en inglés
                                                         Sce reverse side for English original
    CV-3110 [Rev. June 2017]
                                                                                                                       Super. Ct. Civ. R. 4
     Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 9 of 21
pjmttd mrtjLW- - in \№^ smm ,
 WätmfMCA's
 WstgkAlTHCARE ^at home
                                                                                    1510-R Caton Center Drive
                                                                                    Baltimore, MD 21227
                                                                                    Phone: (800) J45-6026
                                                                                    Fas     (800) 545-6071

 CPAP/BILEVEL Education Guide
 Positive airway pressure therapy is the most effective noninvasive
 treatment for OSA (obstructive sleep apnea). OSA occurs primarily
 because of upper airway .obstructions that ckl cause you to snore or
 stop breathing. During sleep, our bodies relax, and muscle tissues like to
 tongue and soft palate lose their slight rigidity. Because we tend to sieepthe
 lying down, gravity pulls these tissues toward the back of the throat and             .X'vO,
 closes the upper airway.                                                                       -lL,



                                                                                            H sf
   -：


 Your doctor has prescribed CPAP for you. CRAP (pronounced "see-p
                                                                        ap")
is short for "continuous positive airway pressure." CPAP systems consis
a flow generator, air tubing, and a mask. The flow generator pushes        t of
through the tubing and nasal mask, The air passes through your nose    air
                                                                         and
into yoUr throat, vitiate the slight pfeSsufe keeps your upper airway open.

Prescribed Settings:
     PAP       □ apap           □ bilevel           qnippv             qavaps                   □ ASV
iYeSsure&L     Insp:   to  cmH20 _Exp:
                        Ramp Startj
                                                    iO             cmH20              Rate:            bpm
Rampu^jL/min                         Q cml-120
                                                              Supplemental 02 @                UM
AVAPS:     to line:               sec         Rise Time Setting>^            Rise TimeLpclc
ASV: IMAX^    cmH20                                 cinH2o^is：                 cedB^ Rate:
Getting Started
    > Place the CPAP unit on a level surface (night stand) near your bed.
                                                                          Plug the unit into a properly
      functioning electrical outlet. DO NOT place the machine at a level
                                                                          higher
      the CPAP unit at least 12 Inches away from any sources of airflow obstru than your head. Keep
      bedspreads, papers, etc.                                                 ctions, such as drapes,
                                       ^-----
    > Fill your humidifier chamber wifrbdistilled watertto prevent minera
                                                                            l deposits on equipment.
       NOTE: Tap water can be useSTiffen distilled water is unavailab
                                                                                                       le.
    > Attach the 6 foot CPAP tubing to the outlet of the humidifier; attach
                                                                            your mask to the other end of the
      tubing.
Getting to Sieep
   > Wash your face. Properly adjust your mask and headgear to your
                                                                    face as instructed by your
     representative and manufacturer guidelines.

   > The mask should fit comfortably and just snug enough to avoid
                                                                         any leaks.

   > DO NOT over-tighten your headgear.
   > Turn the CPAP unit on. You will feel air coming through your mask.
     nose, keeping your mouth closed.                                   Breath normally through your

   > Check for leaks in your mask. Is air escaping into your eyes? Around
                                                                                  your lips?

                                                       1


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               Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 10 of 21
>
                                   !
                                                                                                                       •>
                                                                                        1510-R Oton Cemer Drive

                    mmmemBMB&m                                                          Baltimore. MD 21227
                                                                                        Phone: (800) 545-6026
                                                                                        Fax     (800) 545-6071


              > Be patient with the therapy. Using the machine as little as four hours per night will be beneficial.
                Gradually increase usage until you can wear it all night.

              > If you experience a dry tongue during the night, you may need a chin strap to help keep your mouth
                closed.             *                                                  -                  .       *
              > Use the ramp feature. The ramp feature allows for a lower pressure to be delivered at the beginning,
                gradually "ramping" up to the prescribed pressure, allowing you to fall asleep easier against less
                pressure.

        Waking Up
              > Turn OFF CRAP unit when not in use.

              > If using oxygen, TURN OFF OXYGEN BEFORE TURNING OFF CRAP so oxygen does not
                accumulate in the device.                        -
              > If using oxygen during the day, disconnect tubing from CRAP machine and attach a nasal cannula to
          -     the end for daytime use.

        Safety Considerations
          > Use your CRAP as directed by your Doctor and DO NOT try to adjust your pressure settings.

          > Keep the area around the CRAP unit clean and do not allow the vents on the CRAP to become *
            blocked. Keep filters clean.

          > Plug the CRAP into a properly functioning outlet and avoid the use of extension cords.

          > DO NOT block the exhalation port or valve on your mask;

          > If using a heated humidifier, allow unit to cool before cleaning and/or refilling.

          > Follow oxygen safety guidelines if oxygen equipment is being used, if so, always turn the CRAP unit
            ON first, then the oxygen, and turn the oxygen OFF first then the CRAP.

          > If you have a medical emergency, contact your Doctor or emergency personnel.

        Traveling with CRAP
          > When traveling, always empty and wipe dry the humidifier chamber. Even a few drops of water can
            damage the circuit 'board in the machine. Water damage is not covered by your warranty.

          > When flying, keep fee CRAP machine with you. Airlines usually allow one cany-on bag plus a,-
            smaller “personal item” such as a purse, briefcase or laptop computer. Most airlines will also let you
            cany a third bag if it is a medical device. If you cannot carry fee machine, make sure to pack the
            humidifier separately from the machine and surround both with soft materials.

          > Most all CRAP machines now accommodate electrical sources of 100-240 volts AC, 50-60 Hz. A
            plug adaptor is all you need when traveling overseas.



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     Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 11 of 21



 mmjs&em: t____                                              •
                                                                 1510-R Catón Center Drive
                                                                 Bahimore, MX) 21227
                                                                 Phone: (800) 545-6026
                                                                 Fase    (800) 545-6071


 Cleaning Procedures
 To prevent growth ofmold and bacteria in the CPAP system:


 Pally                                                                                        Wf.
                                                                                                    T1

 ❖ Wash your face daily before wearing your mask.

. ❖ Mask: Clean surfaces that contact skin with a cloth or paper
     towel and warm soapy water. Rinse thoroughly. Pre-
   ' Packaged mask wipes, are also available.
                                                                        ■ w«®ti
                                                                              Mask Wipes make
                                                                             daily mask cleaning
 ❖ Do not use chlorine, alcohol, or aromatic-based solutions,                      a breeze.
   bleach, scented oils, moisturizing, or antibacterial soaps to
   clean supplies. These may cause hardening and reduce the life of the product.

 ❖ Humidifier chamber: Remove and empty the water reservoir, rinse and allow to
   dry completely. Refill vwth fresh water, distilled water is preferred.


                                                                                             p\
 Weekly
 ❖ Mask, headgear, tubing and humidifier chamber: Soak in verm
                                                                                         ':H!
   soapy water (using regular dish soap) for 3d minutes, rinse with
   warm water, and hang to dry.                                                          m
                                                                                       Use.disb soap
                                                                                          without
 ❖ If you have an upper respiratory infection (e.g. cold or sinus                      antibacterial
   infection), then also soak in a solution of1 part white vinegar and 3                ingredients.
   parts water for 30 minutes. Rinse well with warm water and hang to dry.
   Formulas such as Control III, are a cost-effective way to disinfect
   without harsh chemicals or shieB. Blow out water droplets from
   tubing and’mask with machine before wearing.
 ❖ Reusable Filter Hand wash re-usable filter in warm soapy water.                filB
                                                                                  {IP!' 11¡¡| ggi
 ❖ Disposable Filter: Replace disposable filter when visibly soiled                SlLtPl m
                                                                                  Control m Solution
 ♦♦♦ CPAP Machine: Unplug CPAP machine & wipe with a damp cloth                   is another option ror
                                                                                      cleaning and
                                                                                 disinfecting supplies.



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    Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 12 of 21



 ШИйёйЗ«»                                                                          1510-R Caton Center Drive
                                                                                   Baltimore, MD 21227
                                                                                   Phone: (800) 545-6026
                                                                                   Fax • (800) 545-6071

 MonStorinq vour Progress
     1. DreamMapper (Respironics Machines)
            a. Go online to www.dreammaPDer.com
            b. Register your machine - you will need the serial number from your machin
                                                                                       e (look on the
               delivery ticket for the number that starts with “J”

    2. MyAir (Resmed machines)
         a. Go online to mvair.resmed.com
         b. Create an account

Make sure your machine is plugged in all of the time so the modem can commu
                                                                              nicate with the
manufacturer’s server. This usually occurs once per day. The information
                                                                         is kept secure and only accessible
by your physician or America’s Healthcare at Home, hie. We keep all medic
                                                                            al information


Reordering Supplies
                  ■   -




Call the main number to order replacement supplies. Periodically,
                                                                  you will receive a reminder by phone or
email to check your mask, headgear, tubing and humidifier chamb
                                                                  er for re-order. Your supplies will be
shipped directly to you..
                                                                                          »•
It is important to reorder your mask, headgear, tubing and filters
                                                                   at least every six months to reduce risk of
infection and to ensure leak-free comfort Most insurance carrier
months.                                                            s will pay for supplies every three to six

You can reorder supplies several ways:

   1. Reply to the automated system 24 hours/day, 7 days/week
                                                              -       Call: (888) 510-1438 or (866) 510-5788
   2. Reply to the automated email link sent when you are eligible
                                                               for new supplies.
   3. Order on our website: www.ahcati.cdm (Click on “CPAP                                                       r
                                                             Order Form”)
   4. Call our office Monday-Friday 8:30-5:00: (800)545-6026



   MASK WITHOUT HEADGEAR                                  1 every 3 months
   HEADGEAR                                               1 every 6 months
   REPLACEMENT CUSHION / PILLOWS                          2 per month .
   FULL FACE MASK CUSHIONS                                1 per month
   TUBING
                                                          1 every 3 months
   DISPOSABLE FILTERS                                     2 per month
   HUMIDIFIER CHAMBER
                                                          1 every 6 months
   WASHABLE FILTER
                                                          1 every 6 months
   CHIN STRAP
                                                          1 every 6 months


                                                      4
        Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 13 of 21
!


                                                                                                  15J0-K Caton Cemer Drive
                                                                                                 Balliraorc, MJ> 21227
                                                                                                 ■Phone: (800): 545-6026
                                                                                                 Fas      (800) 545-6071

      Optimize your CPAP therapy: Replace your supplie
                                                                                                    s
      Replace regularly...
      One of the most Important steps in taking charge of your
                                                                 health and maintaining effective therapy is replacing your
     mask.and supplies, regularly. Just as you replace your toothb
     it’s important for your comfort and health that you            rush, toothpaste, razor blades and many everyday items,
     component is working at its best. ■                 repla ce your mask and supplies as recommended to ensure every
                                                                                                       • '
     Replacement means more comfort...
     Over time, residue from your face and everyday wear and
     with proper care and cleaning, materials can deteri          tear can reduce the quality of your mask and supplies. Even
     uncomfortable and under-treated. Regular replacemen  orate over time and cause poor performance, leavin   g you
     effective as possible.                                   t and maintenance helps keep your therapy as comfo     rtable and
     Important facts about supplies...
     Mask cushions/pillows may deteriorate over time throu
     to air leaks. If y our cushions/pillows are worn out, you   gh regular wear and tear, which can compromis fit and
                                                               may experience discomfort, and your therapy mayebe
     effective. Bacteria can build up causing skin rash and break                                                      less
                                                                                                                            lead
                                                                    down.
     Device filters wear out or may become clogged, no longe
    bacteria.                                                     r protecting you from airborne particles, dust, pet fur and
                                                   *
    Tubing may develop small holes or tears, which may cause
    therapy setting.                                                 air leaks and jeopardize the delivery of your prescribed

    Headgear and chin straps may become stretched and
    They can also trap bacteria from sweat and moist      lose their elasticity, leading to overtightening and discomfort
                                                     ure.
    Humidifier water chambers may become discolored, crack
    most' tap and drinking water. As the material deteri           ed, cloudy or even pitted due to the mineral levels found
                                                         orates, cracks may trap bacteria.                                   in
                                                    *-*                                ；
    Order every three months (most insurances
                                                                 will cover the following):
    If you are using a full-face mask: (mask covers both
                                                               nose and mouth)
         1. Full Face mask
        2. Extra mask cushions (2)
        3. Tubing                                                             Sb                               W "
        4. Disposable Filters (6)

    If you are using a nasal mask (covers nose) or nasal
                                                         pillows (fits over nostrils):
         1. Nasal mask or nasal pillow device
        2. Extra mask cushions or pairs of nasal pillows (5)                                         €!§
                                                                                                     '*'’■¿0
        3. Tubing
        4. Disposable Filters (6)

    Order every six months (most insurances will
                                                                 coverthe following):                                        ■ M
       1.   Headgear (straps) for mask or nasal pillow device
       2.   Humidifier water chamber.
       3.   Reusable filters
       4.   Chin Strap
                                                                      Q*                         A             7
                                                                       ,Ï -                 3cl(r
                                                                                                                             w
                                                                                                                             »




                                                                5
       Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 14 of 21



          тмЁй
            ттетшв
                , тт                                                                        1510-R Caton Center Drive

                    т                                                                       Baltimore, MD 21227 .
                                                                                            Phone: (800) 545-6026
                                                                                            Fax     (800) 545-6071




              CPAP desensitization fora patient’s claustrophobic
                                (Modified from the method written by Edinger and Radtk           response
                                                                                       e)
  Most patients tolerate using a CPAP mask veiy well.
  wearing the mask in the beginning. If you are havin      A small portion of patients bave a hard time
                                                       g difficulty getting used to the CPAP mask, yon
  might need <(Desensitization” as described here. Plea
  really cannot-tolerate it.                            se do not force yourself to wear the mask if you



 Step 1: Wear the CPAP mask at home, while awake and
                                                          performing normal activities, for about one-two
 hour daily. When you can do this without any anxiety or
                                                         concern for three-five consecutive days, go to Step
 2.
.Step 2: Connect the pressure device and tubing to foe
                                                         CPAP mask, setting the pressure as prescribed. Turn
 on the machine and breathe through it while awake, 'for
                                                          orie-two hours daily. When you can do this without
 problems for foree-five consecutive days, go to Step 3.


Step 3: Wear the entire CPAP machine for a scheduled
                                                            one-hour nap daily. When you can do this .without
problems for three-five consecutive days, go to Step 4.
                                                                                   -                           •

Step 4: Wear the entire CPAP apparatus to sleep at nigh
                                                           t Wear it as long as possible.If you cannot tolerate
the mask, take it off ami continue to sleep without it. Then
                                                             , try the mask the next day for about 3-4 hours
each right Gradually increase the hours with foe mask
                                                        . You may have to repeat Step 2 or 3 again, but do not
force yourself to wear the mask if you really cannot toler
                                                          ate it



Please contact America’s Healthcare at Home (800) 545-
                                                       6026        for further assistance if needed. .




                                                                                                                        /




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                 Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 15 of 21



                                                                                            ISlOuR Caton Cenler Drive
                                                                                            BaUimore, MD 21227
                                                                                            Phone: (800) 545-6026
                                                                                            Fax    (800) 545-6071

                Troubles hooting Guide
                                     f-.tv/
                                                                                                                                   5
                                    v' Always use heated humidification set at number
                                                                                                                        8^i>


            !                      S Increase the hunrad'rty setting one increment at a
                                       time until symptoms resolve. If increasing the .                             Ii             i
         i!                                                                                                                        i
                                        humidifier setting causes condensation to form in                                          ■>.

                                                                                                                                       '
                                       your mask or tubing, a CPAP tubing wrap (photo)
        j Increased nasal               may solve the problem. This will allow you to         j5||g|S8p
          congestion, runny
        [ nose or nasal
                                       increase the setting for contort ‘without excessive                   JUf                   i
                                                                                                                                   ：
                                       condensation.
        i dryness:                 v' Reposition the mask if you are experiencing mouth leaks. Often those
        l                                                                                                      masks
                                       that are over-tightened results in increase nasal passage resistance, loosenin              t
                                                                                                                        g          I
                                       the mask to obtain a better fit can reduce sinus related symptoms.
        !                              Try using a saline nasal spray to moisten mucous membranes                              i
    3：
                                                                                                                               !
    ,■                             S Ask your physician about possible underlying allergies and the about starting
                                                                                                                        a
                                                                                                                                   i
    !                           f      nasal corticosteroid                                                                    Ï
    ?                              ^ Review the standards in your instruction manual regarding the changin                     ls
                                                                                                               g or
                                       cleaning of the filter or your rrask.                                                   i
                                                                                                                     ,
                               : v' Power cord disconnected. Reconnect the power cord to the CPAP and
    î                                                                                                           outlet,        iV
                                f / No power to the outlet. Try another outlet. Check for power outage or
    j No pressure or flow                                                                                       outlet
                                     ' controlled by a light switch.
    [ from the CPAP                S Blown fuse or circuit breaker. Replace fuse or check circuit breaker in
                                                                                                               the
                                                                                                                               r
    1 machine                          home.
    i                              ^ Dirty filters. Clean or replace foam filter and replace paper filters,
                               ［：i ✓   Equipment malfunction. Contact us.
                      rsrr
    i                          't
                                 v' Make sure you clean your face and the mask cushion before wearing,                         ■-
                               j ^ Make sure your mask is not over-tightened, as this will cause not only
            Mask discomfort:                                                                              an
                               I    improper seal, but also pressure sores.                                                    Î
                               i S The angle of the forehead and nose bridge can be adjusted on some
                                                                                                         masks.
                                    T ry to angle the top of the mask away from the bridge of your nose.                       i
     ! Air leak from mask.
    i| Eye irritation . Sore    ^ Mask not adjusted correctly. Readjust mask and headgear. Contact us
                                                                                                        if                     }
       on nose, forehead, or      problems continue. Mask should be snug - but just enough so to obtain a                      i
                                  proper seal. Neverover-tighten.                                                              J
       elsewhere onface.     I-                                                                                                i
                                                                                                                               I
                                                                                                                               i
                               l S Contact us about using a chinstrap.
                               ( s Use heated humidification at level 3 or higher. If you are already using
                                                                                                              a heated
                               i   humidifier, try to increase humidity setting one increment at a time until
                               l   symptoms resolve.
                               S                                                                                         i
  Dry mouth. Mouth             I S if increasing the humidifier setting causes condensation to form in your
  failing open during                                                                                         tubing,
                                   consider a tubing insulator or “wrap". This will allow you to increase the setting
r
  sleep.                           for comfort without experiencing rain out.
                                                                                                                         I
                                 / Reposition the mask if you are experiencing mouth leaks.                             J
i                                J Consider the fit of the mask, keep it as loose as possible without large
                                                                                                             air leaks.
                                 s Discuss this issue with your provider, as a pressure reduction maybe
                                   warranted.                                                                           i
                                                                                                                               i

                                                               7


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         Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 16 of 21


               lEftfCA'SHBHi                                                                 151D-R Caton Center Drive
                                                                                             Balltmoie, MD 21227
               ■ALTHCARE ATHOMC                                                              Phone: (800) 545-6026
                                                                                             Fax      (800) 545-6071



                                     S If too hot: make sure vents on CRAP are not blocked. Make sure temperature
! Air from CRAP is too             I   in the room is not too hot, or the humidifier setting is not too high. Keep tubing i
! hot or too cold.                     above blankets during sleep.                                                       i
        ,/                         ! s If too cold: make sure temperature in room is not too cold. Increase humidifier
                                       temperature and keep tubing under blankets during sleep.

i Swollen eyes since           ; *'' Readjust mask and/or loosen the headgear slightly.                                        i
I beginning therapy:           I ✓ Consider if sinus related symptoms maybe playing a role and discuss this with
                                     your physician in more detail during a follow up appointment.
                               L

 “Rain out”
 (wet face or          ； ■/ • Decrease the humidity setting.
 condensation forming , v' Make or purchase a tubing insulator or uwrapv.                                                      ；
 in the tubing):
                      .
                               ■
                                                                                                                               ；
                               ; s Aerophagia of will occur if the mouth is opening/leaking during night Try
 Aerophagia                          adjusting mask for a better fit
 (swallowing of air                  Try a chin strap to keep your mouth closed at night                                   1


 with use of positive            s If this is severe, and/or painful contact your sleep specialist for immediate           I
                                     follow up.                                                                                i
 airway pressure)
                                 v'' If needed, a possible adjustment in the pressure settings or alternative means
                                     of therapy may need to be considered by you and your physician.

  ».
                                                                                                                           I
                                       v' You may need your CRAP pressure adjusted. Contact the Sleep Center to set
i Still snoring on                        up appointment with one of our providers. An autotitration or CRAP retitration   :
  CRAP:                                   may be indicated.
                                       ✓ Have your bed partner report on any periods of mouth leaking during the night.
                                                                                                                           I
                                                                                                                           ?

                           I s Readjust mask and/or loosen the head gear slightly.
                              ^ The angle of the forehead and nose bridge may need to
! Irritation of the skin     , be adjusted.
j on the face or at the       ^ Use a mask liner (RemZZZs Liners are an optional
j bridge of the nose:D     '    accessory)                                                                                 ：
                           i ✓ Try a different type of mask.
                           ；




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     Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 17 of 21
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             INDIANAPOLIS IN 46241
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                        WASHINGTON DC 20020
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                   Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 18 of 21

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             Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 19 of 21


* #*


                  Superior Court of the District of Columbia
                                                    CIVIL DIVISION - CIVIL ACTIONS BRANCH
                                                                    INFORMATION SHEET
                 SjEMÁR ItíMiS
                         PIainlifT(s)
                                      lIK                                   Case Number:               1023 02501
                                         vs                                     Date:___________________________
          ÄMEKlÖft UtÁUHCAEE AT HCM£                                        |     | One of the defendants is being sued
                                     0efendaiU(s>
                                                                                    in their official capacity.
             Name: (Please Print)                                                             Relationship to Lawsuit
             Firm Name:                                                                            ["I/Attorney for Plaintiff
                                                                                                   0 Self (Pro Se)
             Telephone No.:                   Unified Bar No.:
                                                                                                   !~1 Othen___________
             TYPEÖF CASE: JH Non-Jury                         □ 6 Person Jury                      [U12 Person Jury
             Demand:                                                                  Other
             PENDING CASE(S) RELATED TO THE ACTION BEING FILED
             CaseNo.:_                     Judge:                                               Calendar #:

             Case No.:,                                      Judge:                             Calendar#:

       NATURE OF SUIT:               (.Check One Box Only)
       CONTRACT                                 COLLECTION/INS. SUB                                    EMPLOYMENT DISPUTE
       f~l Breach of Contract                 I I Debt Collection                                   [""I Breach of Contract
       I 1 Breach of Warranty                 I I Insurance Subrogation                             f~~] Discrimination
       I I Condo/Homeovvner Assn. Fees O Molion/Application for Judgment by Confession           Q Wage Claim
       I I Contract Enforcement               I I Motion/Applicntion Regarding Arbitration Award (Hj Whistle Blower
       I I Negotiable Instrument                                                                    1 1 Wrongful Termination

       REAL PROPERTY
                                                                                                          □ FRIENDLY SUIT
       I I Condo/Homcowner Assn. Foreclosure Q Ejectment                    □ Other                      □ HOUSING CODE REGULATIONS
       I I Declaratory Judgment              I~1 Eminem Domain              Q Quiet Title                 □ QU1TAM
       FI Drug Related Nuisance Abatement    I I Interpleader               I I Specific Pcrromiancc     □ STRUCTURED SETTLEMENTS

       ADMINISTRATIVE PROCEEDINGS                                                                          AGENCY APPEAL
       I | Administrative Search Warrant                              ! I Release Mechanics Lien
                                                                                         I 1 Dangerous Animal Determination
       l~l App. for Entry of Jgt Defaulted Compensation Benefits Q Request for Subpoena  I~1 DCPS Residency Appeal
       I 1 Enter Administrative Order as Judgment                                        I 1 Merit Personnel Act (OKA)
                                                                 MALPRACTICE
       I I Übel of Information                                                           I I Merit Personnel Act (OHR)
                                                                 [^fMedical - Other
       I 1 Master Meter                                                                  I I Other Agency Appeal
                                                                 CD Wrongful Death
       FI Petition Other
                                                               □ APPLICATION FOR INTERNATIONAL FOREIGN JUDGMENT




             CV-49fi/Februaiy 2023
     Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 20 of 21


                                                                                                                                       .•'*

                                 Infomation Sheet, Continued

 CIVIL ASSET FORFEITURE                                                TORT
 I 1 Currency                                                          | | Abuse of Process
 I~1 Other                                                             I | Assauil/Batlcry
 I I Real Property                                                     1 I Conversion
I I Vehicle                                                            j | False Arrcst/Malicious Prosecution
NAME CHANGE/VITAL RECORD AMENDMENT                                     I I Libel/Slander/Defamation
I I Birth Certificate Amendment
                                                                       f~l Personal Injury
CD Death Certificate Amendment
                                                                       [ I Toxic Mass
f~1 Gender Amendment
                                                                       [ | Wrongful Death (Non-Medical Malpractice)
f~l Name Change

GENERAL CIVIL                                        I I Product Liability                    STATUTORY CLAIM
□ Accounting
                                                     I 1 Request for Liquidation              □ Anti -SLAPP
□ Deceit (Misrepresentation)
                                                     □ Writ of Replevin                        FI Consumer Protection Act
I I Fraud
                                                     I I Wrongful Eviction                    I I Exploitation of Vulnerable Adult
□ Invasion of Privacy
                                                     CIVIL I/COMPLEX CIVIL                    I I Freedom of In formation Act (FOIA)
f~l Lead Paint
                                                     i~i Asbestos                             □ Other
FI Legal Malpractice                                 MORTGAGE FORECLOSURE                     TAX SALE FORECLOSURE
I I Motion/Application Regarding Arhitration Award   □ Non-Residentiai                        I | Tax Sale Annual
I [Other-General Civil                               I I Residential                          □ Tax Sale Bid Off
VEHICLE
                             □ TRAFFIC ADJUDICATION APPEAL
I I Personal Injury
I I Property Damage          □ REQUEST FOR FOREIGN JUDGMENT




                                                                                           as/
                      Filer/Attomey’s Signature
                                                                                                    Date



     CV-496/Febcitary 2023
         Case 1:23-cv-02584-RCL Document 4-1 Filed 09/06/23 Page 21 of 21



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                                                      CIVIL DIVISION
wsw
Check One:
n    Civil Actions Branch
     500 Indiana Ave., N.W.
     Room 5000
                                        □     Landlord & Tenant Branch
                                              510 4*h Street, N.W.
                                              Room 110
                                                                                 |    | Small Claims & Conciliation Branch
                                                                                         510 4Hl Street, N.W.
                                                                                         Room 119
     Washington, D.C. 20001                   Washington, D.C. 20001                     Washington, D.C. 20001
     Telephone: (202) 879-1133                Telephone: (202) 879-4879                  Telephone: (202) 879-1120



                                          Plaintiff
                            v.                                    CASE NUMBER:

                                        Defendant

                                              ANSWER OF DEFENDANT
The defendant answers the claim(s) ofplaintifi[s) as Mows:




                                 SIGNATURE AND ADDRESS OF PARTY/ATTORNEY

 Signature                                                     Date
 Printed Name and Bar Number (if applicable)                   Street Address
 Email Address and Phone Number                                City, State, Zip

                                             CERTIFICATE OF SERVICE
 I hereby certify that on                                 (date), that a copy of this Answer was sent in the manner indicated
 to the party/parties in this case or their attomey(s) as listed below:

 □E-served on or 0 Mailed to (check one)

  Name                                                           Name
 Street Address                                                  Street Address

 City, State, Zip                                                City, State, Zip

 Email Address and Phone Number                                  Email Address and Phone Number
 Foim CV(6)-451/Jan. 2020                                             Super. Ct. Civ. R, 12; Super Ct. L&T R. 5 & Super. Ct. SC R 5
